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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW MEXICO


FIORE INDUSTRIES, INC., a New Mexico
corporation,

        Plaintiff,

v.                                                      Case No.:

NAVIGATORS INSURANCE COMPANY, a
foreign Corporation doing business in New
Mexico,

        Defendant.


                                   NOTICE OF REMOVAL

        TO THE CLERK OF THE COURT, ALL PARTIES HERETO, AND THEIR

COUNSEL OF RECORD:

        PLEASE TAKE NOTICE that the above-captioned matter, which was commenced as

Fiore Industries, Inc. v. Navigators Insurance Company, Case No. D-101-CV-2021-00520 (“the

State Court Action”) in the First Judicial District for the State of New Mexico, County of Santa

Fe (“the State Court”), is hereby removed pursuant to 28 U.S.C. §§ 1332 and 1441 to the United

States District Court for the District of New Mexico. In support of its Notice of Removal,

Defendant Navigators Insurance Company (“Navigators” or “Defendant”), through its

undersigned counsel, hereby state as follows:

        1.      This insurance coverage action was commenced against Navigators by Fiore

Industries, Inc. (“Fiore” or “Plaintiff”) on March 11, 2021 in the First Judicial District for the

State of New Mexico, County of Santa Fe (the aforementioned “State Court Action”). A true

and correct copy of the Summons and Complaint, with attachments, filed in the State Court




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Action is attached hereto as Exhibit 1. These constitute all of the process, pleadings, and orders

filed in in the State Court Action.

        2.     This     matter        concerns   coverage     under     Navigators      SmartPolicy

No. CH18DOL323990IV, issued to Fiore Industries, Inc., as the Named Insured, for the effective

Policy Period of June 10, 2018 to June 10, 2019 (the “Policy”). As is potentially relevant here,

the Policy, subject to all terms, conditions, limitations and exclusions set forth therein, affords a

$1,000,000 maximum aggregate limit of liability for all Loss, including Costs of Defense, under

its DIRECTORS AND OFFICERS LIABILITY Coverage Part (the “D&O Coverage”).

        3.     Specifically, this matter concerns coverage for an investigation of Fiore (the

“Investigation”) by the Office of the Inspector General for the National Aeronautics and Space

Administration and the United States Attorney (collectively, the “Government”).                 The

Investigation ultimately resulted in a settlement between Fiore and the Government.

        4.     In connection with the Investigation, Fiore has submitted claims to Navigators

substantially in excess of the limits of the Policy. Navigators has paid a total of $177,857.74 in

connection with these claims and denies any further liability for them under the Policy. The

remaining limits of the Policy total $822,142.26.

        5.     In the Complaint filed in the State Court Action, Fiore asserts allegations of

breach of contract, insurance bad faith, violation of unfair insurance practices act, and violation

of the New Mexico unfair trade practices act. Navigators categorically denies these allegations.

        6.     Plaintiff Fiore is a citizen of New Mexico, with its principal place of business in

Bernalillo County, New Mexico. Navigators is a New York corporation with its principal place

of business in Hartford, Connecticut. By the State Court Action, Fiore seeks to recover the full




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amount of the remaining limits of the Policy from Navigators, plus unspecified additional

damages in excess of those limits.

        7.     Thus, this is a civil action between citizens of different states wherein the amount

in controversy exceeds the sum of $75,000, exclusive of interest and costs. Accordingly, this

Court has original jurisdiction pursuant to 28 U.S.C. § 1332, and the case may be removed to this

Court pursuant to 28 U.S.C. § 1441. Additionally, removal to this district is proper under 28

U.S.C. § 1441(a) because this district and division embraces the place where the removed action

is pending.

        8.     On June 10, 2021, Navigators received a copy of the Summons and Complaint

filed in the State Court Action and agreed to waiver formal service of process. No proceedings

have occurred in the State Court Action, and Navigators has not yet appeared in that action.

Accordingly, this Notice of Removal is timely because it has been filed within the time permitted

under 28 U.S.C. §1446(b) and Federal Rule of Civil Procedure 6(a)(1)(C).

                                         *       *      *

        Based on the foregoing, Navigators hereby removes this action to the United States

District Court for the District of New Mexico.




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Dated:         Dallas, Texas
               July 12, 2021


                                            Respectfully submitted,

                                            WILSON, ELSER, MOSKOWITZ,
                                            EDELMAN & DICKER LLP

                                            /s/Coleman M. Proctor
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                              CERTIFICATE OF SERVICE

       I, Coleman M. Proctor, hereby certify that on this 12th day of July 2021, I served the
foregoing document on all counsel of record via email and first class mail, postage prepaid.

        Benjamin E. Thomas
        Sutin, Thayer & Browne
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                                                  Coleman M. Proctor
                                                    Coleman M. Proctor




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